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               Case6XPPRQVLQD&LYLO$FWLRQ0,:'
                       1:21-cv-00375-PLM-SJB          5HY ECF                     No. 5, PageID.31 Filed 05/20/21 Page 1 of 1

                        SUMMONS IN A CIVIL ACTION
      UNITED STATES DISTRICT COURT FOR THE WESTERN DISTRICT OF MICHIGAN
   Dana Nessel, Attorney General of the State of
                    Michigan                                                                                   &DVH1R 21-cv-00375-PLM
                                                                                                               +RQ Paul L. Maloney
                                                                                                          Schmidt Family Vineyards, LLC
                                                                                              72 Calvin Schmidt, Registered Agent
                                  Y
             Schmidt Family Vineyards, LLC                                               $''5(66 242 Missouri Flat Rd
                                                                                                         Grants Pass, OR 97527




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$ODZVXLWKDVEHHQILOHGDJDLQVW\RX                                                               Felepe H. Hall, AAG
                                                                                                     Michigan Department of Attorney General
<28 $5(+(5(%<680021('DQGUHTXLUHGWR  VHUYH                                                     P.O. Box 30005
XSRQSODLQWLIIDQDQVZHUWRWKHDWWDFKHGFRPSODLQWRUDPRWLRQ                                      Lansing, MI 48909
XQGHU5XOHRIWKH)HGHUDO5XOHVRI&LYLO3URFHGXUHZLWKLQ
  21       GD\VDIWHUVHUYLFHRIWKLVVXP PRQVRQ\ RX QRW                                       &/(5.2)&2857
FRXQWLQJ WKHGD\  \RX UHFHLYHGLW ,I\ RX IDLO WR UHVSRQG
MXGJPHQWE\GHIDXOWZLOOEHHQWHUHGDJDLQVW\RXIRUWKHUHOLHI
GHPDQGHGLQWKHFRPSODLQW<RXPXVWDOVRILOH\RXUDQVZHU
RUPRWLRQZLWKWKH&RXUW
7KH&RXUWKDVRIILFHVLQWKHIROORZLQJORFDWLRQV

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                                                                                                                                                                      5/20/2021
                                                                                                     %\'HSXW\&OHUN                                                    'DWH


                                                                                    PROOF OF SERVICE
7KLVVXPPRQVIRU                       Calvin Schmidt, Registered Agent                                          ZDVUHFHLYHGE\PHRQ                                             
                                             QDPHRILQGLYLGXDODQGWLWOHLIDQ\                                                                              GDWH


 ,SHUVRQDOO\VHUYHGWKHVXPPRQVRQWKHLQGLYLGXDODW
                                                                                                                          SODFHZKHUHVHUYHG
RQ
                       GDWH


  ,OHIWWKHVXPPRQVDWWKHLQGLYLGXDO¶VUHVLGHQFHRUXVXDOSODFHRIDERGHZLWK                                                                                             DSHUVRQ
                                                                                                                          QDPH

RIVXLWDEOHDJHDQGGLVFUHWLRQZKRUHVLGHVWKHUHRQ                                                         DQGPDLOHGDFRS\WRWKHLQGLYLGXDO¶VODVWNQRZQDGGUHVV
                                                                                          GDWH


  ,VHUYHGWKHVXPPRQVRQ                                                                                                  ZKRLVGHVLJQDWHGE\ODZWRDFFHSWVHUYLFH
                                                                            QDPHRILQGLYLGXDO

RISURFHVVRQEHKDOIRI                                                                                                                    RQ                                          
                                                                            QDPHRIRUJDQL]DWLRQ                                                               GDWH


  ,UHWXUQHGWKHVXPPRQVXQH[HFXWHGEHFDXVH                                                                                                                                          
  2WKHU (specify)                                                                                                                                                                   

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,GHFODUHXQGHUWKHSHQDOW\RISHUMXU\WKDWWKLVLQIRUPDWLRQLVWUXH
'DWH
                                                                                                                                    Server’s signature

$GGLWLRQDOLQIRUPDWLRQUHJDUGLQJDWWHPSWHGVHUYLFHHWF
                                                                                                                             Server’s printed name and title



                                                                                                                                  Server’s address
